      Case 2:12-cr-06045-WFN    ECF No. 252   filed 05/29/13   PageID.1583 Page 1 of 1




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 5                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7    UNITED STATES OF AMERICA,                      )
                                                     )   NO.      CR-12-6045-WFN-3
 8                             Plaintiff,            )
                                                     )
 9              -vs-                                 )   ORDER
                                                     )
10    VICTOR MANUEL NAVARRO LOPEZ,                   )
                                                     )
11                             Defendant.            )
                                                     )
12
13          Pending before the Court is the Government's Motion for Dismissal of Count 3
14 Without Prejudice (ECF No. 248). The Court has reviewed the file and Motion and is fully
15 informed. Accordingly,
16          IT IS ORDERED that:
17          1. The Government's Motion for Dismissal of Count 3 Without Prejudice, filed
18 May 28, 2013, ECF No. 248, is GRANTED.
19          2. Count 3 is DISMISSED without prejudice.
20          The District Court Executive is directed to file this Order and provide copies to
21 counsel.
22          DATED this 29th day of May, 2013.
23
24                                                  s/ Wm. Fremming Nielsen
                                                       WM. FREMMING NIELSEN
25   05-29-13                                   SENIOR UNITED STATES DISTRICT JUDGE
26


     ORDER
